879 F.2d 862Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ralph ALEXANDER, Plaintiff-Appellant,v.STATE OF MARYLAND;  Commissioner of Correction;  Warden,Maryland State Penitentiary;  Ernestine Williams,Office Supervisor II, Defendants-Appellees.
    No. 88-6617.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 9, 1989.Decided:  July 18, 1989.
    
      Ralph Alexander, appellant pro se.
      John Joseph Curran, Jr., Karen U. Smith (Office of the Attorney General), for appellees.
      Before K.K. HALL and CHAPMAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Ralph Alexander appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Alexander v. State of Maryland, C/A No. 87-3192-S (D.Md. April 5, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    